Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 1 of 14 Page ID #1




                            UNITED STATES DISTRICT COURT

                           SOUTHERN DISTRICT OF ILLINOIS


JASON GALLOWAY, individually and on
behalf of all others similarly situated,

                       Plaintiff,                    Case No. 3:19-cv-264

v.                                                   CLASS ACTION COMPLAINT

MARATHON FINANCIAL INSURANCE                         JURY TRIAL DEMANDED
COMPANY, INC. a Delaware corporation,

                       Defendant.


       Plaintiff Jason Galloway (“Plaintiff” or “Galloway”) brings this Class Action Complaint

and Demand for Jury Trial (“Complaint”) against Defendant Marathon Financial Insurance

Company, Inc. ( “Defendant” or “Marathon”): (1) to stop Defendant’s practice of placing auto-

dialed calls to cellphone owners; (2) to stop its practice of placing calls to consumers whose

numbers have been listed on the national Do Not Call Registry; and (3) to obtain redress for all

persons injured by its conduct. Plaintiff, for his Complaint, alleges as follows upon personal

knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by his attorneys.

                                    JURISDICTION & VENUE

       1.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

seq., (“TCPA” or the “Act”) a federal statute. The Court also has jurisdiction under the Class

Action Fairness Act, 28 U.S.C. § 1332 (“CAFA”). The alleged Classes consist of over 100

persons each, there is minimal diversity, and the claims of the class members when aggregated




                                                                                                    1
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 2 of 14 Page ID #2



together exceed $5 million in controversy. Further, none of the exceptions to CAFA applies.

        2.       This Court has personal jurisdiction over Defendant Marathon because it has

either directly or through its agents solicited and entered into business contracts in this District, is

headquarter in this District, and the conduct alleged in this Complaint occurred in or emanated

from this District.

        3.       Venue is proper pursuant to 28 U.S.C. § 1391(b) because Plaintiff received the

unlawful calls in this District and the calls were directed, at least in part, to persons residing in

this District.

                                              PARTIES

        4.       Plaintiff Galloway is an individual residing in Springfield, Delaware County,

Pennsylvania.

        5.       Defendant Marathon is a corporation offering insurance products incorporated

and existing under the laws of the State of Delaware whose primary place of business and

corporate headquarters is located at 1476 North Green Mount Rd, O’Fallon, Illinois 62269.

                             COMMON FACTUAL ALLEGATIONS

        6.       Defendant Marathon is a financial services company offering insurance products

to consumers.

        7.       All of the calls at issue in this case were made on behalf of, for the benefit of, and

with the knowledge and approval of Marathon, as well as its corporate parents and affiliates.

        8.       Unfortunately for consumers, Marathon, in an attempt to secure new customers

insurance products and services, engaged in an aggressive, wide-spread telemarketing

campaign—often stepping outside the law in the process.

        9.       Two types of violations are at issue in this case. First, Defendant uses an




                                                                                                        2
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 3 of 14 Page ID #3



automatic telephone dialing system (“ATDS”) to make unsolicited telemarketing calls to

cellphone numbers. Such calls are unlawful unless made with prior express consent—which

Defendant never obtained.

       10.       Second, Defendant made repeated calls to numbers listed on the National Do Not

Call Registry.

       11.       By making unauthorized telemarketing calls as alleged herein, Defendant has

caused consumers actual harm. This includes the aggravation, nuisance and invasions of privacy

that result from the placement and receipt of such calls, wear and tear caused to consumer

telephones (e.g. consumption of battery life, minutes and data), lost ability to place outgoing

calls and other interruption in use. Plaintiff and the other class members similarly suffered other

diminished use, enjoyment, value, and utility of their cellphones and cellphone plans.

       12.       Defendant made the calls knowing it trespassed against and interfered with

Plaintiff and the other Class members’ use and enjoyment of, and the ability to access, their

cellphones, including the related data, software, applications, and hardware components.

       13.       Defendant knowingly made, and continues to make, repeated autodialed

telemarketing calls to cellphone owners without the prior express consent of the recipients and to

consumers whose numbers have been listed on the National Do Not Call Registry for at least 30

days. As such, Defendant not only invaded the personal privacy of Plaintiff and members of the

putative Classes, it also intentionally and repeatedly violated the TCPA.

       14.       The calls were made by or on Marathon’s behalf and with its knowledge and

approval. Marathon and its corporate parents and affiliates knew about the calls, received the

benefits of the calls, directed that the calls be made, and/or ratified the making of the calls.

       15.       The TCPA was enacted to protect consumers from unsolicited telephone calls like




                                                                                                      3
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 4 of 14 Page ID #4



those alleged in this case.

         16.   In response to Marathon’s unlawful conduct, Plaintiff files the instant lawsuit and

seeks an injunction requiring Marathon to cease all unsolicited telephone calling activities to

consumers as complained of herein and an award of statutory damages to the members of the

Classes, together with pre and post-judgment interest plus costs and reasonable attorneys’ fees.

                      FACTS SPECIFIC TO PLAINTIFF GALLOWAY

         17.   Plaintiff Galloway is the owner and customary user of a cellphone number ending

in 2193.

         18.   At no time did Galloway provide his cellphone number to Defendant or provide

Defendant, or any of Defendant’s agents, parents, or affiliates with prior express consent to call

him.

         19.   At all times relevant hereto, and for a period of at least thirty (30) days prior to the

relevant period of time, Plaintiff’s cellphone number was and remains registered on the DNC

Registry.

         20.   Plaintiff received at least two unsolicited, autodialed calls from Defendant on

October 29, 2018

         21.   Plaintiff heard a pause and click on the calls, indicative of an automatic telephone

dialing system or “ATDS.” This equipment had the present capacity to generate and store

random or sequential numbers and to dial them. The system functioned similarly to a predictive

dialer and allowed Defendant to make calls en masse without human intervention.

         22.   All of the calls were made by agents or employees of Marathon at the direction

and oversight of Marathon. Marathon knew about, directed, ratified, and benefitted from the

calls.




                                                                                                     4
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 5 of 14 Page ID #5



       23.     Prior to receiving the above-referenced calls, Plaintiff had no relationship with

Defendant, had never provided his telephone number directly to Defendant, and had never

requested that Defendant place calls to him or to offer him any services. Simply put, Plaintiff has

never provided any form of prior express consent to Defendant to place telemarketing calls to its

cellphone number and has no business relationship with Defendant.

       24.     Defendant Marathon was, and remains, aware that the above-described

telemarketing calls were made to consumers like Plaintiff never provided prior express consent

to receive them.

       25.     By making unsolicited calls as alleged herein, Defendant has caused Plaintiff and

members of the Classes actual harm. This includes the aggravation, nuisance and invasions of

privacy that result from the placement and receipt of such calls, wear and tear caused to

consumer telephones (e.g. consumption of battery life, minutes and data), lost ability to place

outgoing calls and other interruption in use. Plaintiff and the other class members similarly

suffered other diminished use, enjoyment, value, and utility of their cellphones and cellphone

plans, including all hardware and software components.

       26.     To redress these injuries, Plaintiff, on behalf of himself and two Classes of

similarly situated individuals, brings this suit under the TCPA, which prohibits unsolicited

telemarketing calls to cellular telephones and repeated calls to numbers listed on the national Do

Not Call registry. On behalf of the Classes, Plaintiff seek an injunction requiring Defendant to

cease all unauthorized calling activities and an award of statutory damages to the class members,

together with pre- and post-judgment interest, costs and reasonable attorneys’ fees.

                              CLASS ACTION ALLEGATIONS

       27.     Plaintiff brings this action in accordance with Federal Rule of Civil Procedure




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Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 6 of 14 Page ID #6



23(b)(2) and Rule 23(b)(3) on behalf of himself and two Classes defined as follows:

       Autodialed Class: All persons in the United States who (1) from the date four
       years prior to the filing of this Complaint through the date notice is sent to the
       Class; (2) Defendant caused to be called; (3) on the person’s cellphone; (4) for the
       same purpose as Defendant called Plaintiff; (5) using the same equipment that
       was used to call the Plaintiff, and (6) for whom Defendant claims it obtained prior
       express consent in the same manner as Defendant claims it obtained prior express
       consent to call the Plaintiff.

       DNC Class: All persons in the United States (1) whose phone numbers had been
       listed on the National Do Not Call Registry for at least 30 days, (2) who were
       called by Defendant at least twice in any twelve-month period, (3) for the same
       purpose as Defendant placed calls to the Plaintiff; (4) after having obtained
       consent to call in the same manner as consent was obtained to call the Plaintiff.

       28.     The following people are excluded from the Classes: (1) any Judge or Magistrate

presiding over this action and members of their families; (2) Defendant, Defendant’s

subsidiaries, parents, successors, predecessors, and any entity in which the Defendant or its

parents have a controlling interest and their current or former employees, officers and directors;

(3) persons who properly execute and file a timely request for exclusion from the Classes; (4)

persons whose claims in this matter have been finally adjudicated on the merits or otherwise

released; (5) Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives,

successors, and assignees of any such excluded persons. Plaintiff anticipates the need to amend

the class definitions following a period of appropriate discovery regarding the purpose of the

calls, the type of equipment used, and the manner by which Defendant claims it obtained prior

express consent to call.

       29.     Numerosity: The exact number of members within the Classes is unknown and

not available to Plaintiff at this time, but individual joinder is impracticable. On information and

belief, Defendant has placed telemarketing calls to thousands of consumers who fall into the

defined Classes. The number of members of the Classes and class membership can be identified

through objective criteria, including Defendant’s phone records.


                                                                                                     6
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 7 of 14 Page ID #7



       30.     Typicality: Plaintiff’s claims are typical of the claims of other members of the

Classes in that Plaintiff and the members of the Classes sustained the same legal injuries and

damages arising out of Defendant’s uniform wrongful conduct. If Plaintiff has an entitlement to

relief, so do the rest of the Class Members.

       31.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes and has retained counsel competent and experienced in

complex class actions, including class actions under the TCPA. Neither Plaintiff nor its counsel

has any interest in conflict with or antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff.

       32.     Commonality and Predominance: There are questions of law and fact common

to the claims of Plaintiff and the Classes, and those questions will drive the litigation and

predominate over any questions that may affect individual members of the Classes. Common

questions for the Classes include, but are not necessarily limited to the following:

               (a)     Whether Defendant’s conduct violated the TCPA;

               (b)     Whether the calls were made on behalf of Defendant and/or whether

       Defendant knew about, approved, or benefitted from the calls;

               (c)     Whether Defendant had prior express consent to place the calls;

               (d)     Whether the calls were made using an ATDS;

               (e)     Whether Defendant made repeated calls to consumers whose numbers

       were registered on the National Do Not Call Registry; and

               (f)     Whether Defendant’s conduct was willful or knowing such that members

       of the Classes are entitled to treble damages.

       33.     Conduct Similar Towards All Class Members: By committing the acts set forth




                                                                                                   7
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 8 of 14 Page ID #8



in this pleading, Defendant has acted or refused to act on grounds substantially similar towards

all members of the Classes so as to render certification of the Classes for final injunctive relief

and corresponding declaratory relief appropriate under Rule 23(b)(2).

       34.     Superiority & Manageability: This case is also appropriate for class certification

because class proceedings are superior to all other available methods for the fair and efficient

adjudication of this controversy. Joinder of all parties is impracticable, and the damages suffered

by the individual members of the Classes will likely be relatively small, especially given the

burden and expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the individual members of the

Classes to obtain effective relief from Defendant’s misconduct. Even if members of the Classes

could sustain such individual litigation, it would still not be preferable to a class action, because

individual litigation would increase the delay and expense to all parties due to the complex legal

and factual controversies presented in this Complaint. By contrast, a class action presents far

fewer management difficulties and provides the benefits of single adjudication, economies of

scale, and comprehensive supervision by a single Court. Economies of time, effort and expense

will be fostered and uniformity of decisions ensured. Also, there are no pending governmental

actions against Defendant for the same conduct.


                                  FIRST CAUSE OF ACTION
                               Violation of 47 U.S.C. § 227, et seq.
                        (On behalf of Plaintiff and the Autodialed Class)
       35.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       36.     Defendant made or caused to be made calls to Plaintiff’s and the other Autodialed

Class Members’ cellphones.

       37.     These calls were made using equipment that had the capacity to store or produce

telephone numbers using a random or sequential number generator, to receive and store lists of


                                                                                                        8
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 9 of 14 Page ID #9



phone numbers, and to dial such numbers, en masse, without human intervention. The telephone

dialing equipment utilized by Defendant, also known as a predictive dialer, dialed numbers from

a list, or dialed numbers from a database of telephone numbers, in an automatic and systematic

manner. Defendant’s autodialer disseminated information en masse to Plaintiff and other

consumers and is an ATDS under the TCPA.

       38.     The calls were for telemarketing purposes, specifically to apprise Plaintiff and

others of the availability of Marathon’s insurance products and services.

       39.     Neither Plaintiff nor any other consumer ever provided prior express consent

under the TCPA to be called by or on behalf of Marathon.

       40.     As a result of Defendant’s unlawful conduct, Plaintiff and the other members of

the Autodialed Class suffered actual damages and, under section 47 U.S.C. § 227(c)(5), Plaintiff

and each member of the Autodialed Class are each entitled to receive up to $500 in damages for

each violation of 47 C.F.R. § 64.1200.

       41.     Should the Court determine that Defendant’s conduct was willful and knowing,

the Court may, pursuant to Section 227(c)(5), treble the amount of statutory damages recoverable

by Plaintiff and the other members of the Autodialed Class.

       42.     Plaintiff and the Autodialed Class members are also entitled to incidental

injunctive relief and corresponding declaratory relief as necessary to prevent their future receipt

of Defendant’s unlawful calls.


                               SECOND CAUSE OF ACTION
                           Violation of 47 C.F.R. § 64.1200(d) et seq.
                          (On behalf of Plaintiff and the DNC Class)

       43.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       44.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o



                                                                                                      9
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 10 of 14 Page ID #10



 person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

 who has registered his or her telephone number on the national do-not-call registry of persons

 who do not wish to receive telephone solicitations that is maintained by the federal government.”

        45.     47 C.F.R. § 64.1200(e), in turn, provides that § 64.1200(c) and (d) “are applicable

 to any person or entity making telephone solicitations or telemarketing calls to wireless

 telephone numbers to the extent described in the FCC’s July 3, 2003 Report and Order.

        46.     The July 3, 2003 Report and Order provides as follows:

        The Commission’s rules provide that companies making telephone solicitations to
        residential telephone subscribers must comply with time of day restrictions and
        must institute procedures for maintaining do-not-call lists. For the reasons
        described above, we conclude that these rules apply to calls made to wireless
        telephone numbers. We believe that wireless subscribers should be afforded the
        same protections as wireline subscribers.1

        47.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

 any call for telemarketing purposes to a residential telephone subscriber unless such person or

 entity has instituted procedures for maintaining a list of persons who request not to receive

 telemarketing calls made by or on behalf of that person or entity. The procedures instituted must

 meet the following minimum standards:

        (1) Written policy. Persons or entitles making calls for telemarketing purposes
        must have a written policy, available upon demand, for maintaining a do-not-call
        list.

        (2) Training of personnel engaged in telemarketing. Personnel engaged in any
        aspect of telemarketing must be informed and trained in the existence and use of
        the do-not-call list.

        (3) Recording, disclosure of do-not-call requests. If a person or entity making a
        call for telemarketing purposes (or on whose behalf such a call is made) receives a
        request from a residential telephone subscriber not to receive calls from that


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  Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
 Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
 https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf


                                                                                                     10
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 11 of 14 Page ID #11



          person or entity, the person or entity must record the request and place the
          subscriber’s name, if provided, and telephone number on the do-not-call list at the
          time the request is made. Persons or entities making calls for telemarketing
          purposes (or on whose behalf such calls are made) must honor a residential
          subscriber’s do-not-call request within a reasonable time from the date such
          request is made. This period may not exceed thirty days from the date of such
          request . . . .

          (4) Identification of sellers and telemarketers. A person or entity making a call for
          telemarketing purposes must provide the called party with the name of the
          individual caller, the name of the person or entity on whose behalf the call is
          being made, and a telephone number or address at which the person or entity may
          be contacted. The telephone number provided may not be a 900 number or any
          other number for which charges exceed local or long distance transmission
          charges.

          (5) Affiliated persons or entities. In the absence of a specific request by the
          subscriber to the contrary, a residential subscriber’s do-not-call request shall
          apply to the particular business entity making the call (or on whose behalf a call is
          made), and will not apply to affiliated entities unless the consumer reasonably
          would expect them to be included given the identification of the caller and the
          product being advertised.

          (6) Maintenance of do-not-call lists. A person or entity making calls for
          telemarketing purposes must maintain a record of a consumer’s request not to
          receive further telemarketing calls. A do-not-call request must be honored for 5
          years from the time the request is made.

          48.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

 repeated telephone solicitations to telephone subscribers such as Plaintiff and the DNC Class

 members who registered their respective telephone numbers on the National Do Not Call

 Registry, a listing of persons who do not wish to receive telephone solicitations that is

 maintained by the federal government. These consumers requested to not receive calls from

 Defendants, as set forth in 47 C.F.R. § 64.1200(d)(3).

          49.    Defendant also violated 47 C.F.R. § 64.1200(d) by failing to have a written policy

 regarding do not call requests and by failing to inform or train its personnel regarding any do not

 call list.




                                                                                                  11
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 12 of 14 Page ID #12



        50.     Defendant made more than one unsolicited telephone call to Plaintiff and other

 members of the DNC Class within a 12-month period without their prior express consent to

 receive such calls. Plaintiff and other members of the DNC Class never provided any form of

 consent to receive telephone calls from Defendants.

        51.     Defendant does not have a current record of consent to place telemarketing calls

 to them.

        52.     Defendant violated 47 C.F.R. § 64.1200(d) by initiating calls for telemarketing

 purposes to residential and wireless telephone subscribers, such as Plaintiff and the DNC Class,

 without instituting procedures that comply with the regulatory minimum standards for

 maintaining a list of persons who request not to receive telemarketing calls from them.

        53.     Defendants violated 47 U.S.C. § 227(c)(5) because Plaintiff and the members of

 the DNC Class received more than one telephone call (at least two) in a 12-month period made

 by or on behalf of Defendants in violation of 47 C.F.R. § 64.1200, as described above. As a

 result of Defendants’ conduct as alleged herein, Plaintiff and the DNC Class suffered actual

 damages and, under section 47 U.S.C. § 227(c), are each entitled, inter alia, to receive up to

 $500 in damages for such violations of 47 C.F.R. § 64.1200.

        54.     To the extent Defendants’ misconduct is determined to be willful and knowing,

 the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

 recoverable by Plaintiff and the DNC Class.

                                     PRAYER FOR RELIEF


        WHEREFORE, Plaintiff Galloway, on behalf of himself and the Classes, prays for the

 following relief:

        A.      An order certifying the Classes as defined above, appointing Plaintiff as the


                                                                                                  12
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 13 of 14 Page ID #13



               representative of the Classes, and appointing its counsel as Class Counsel;

       B.      An order declaring that Defendant’s actions, as set out above, violate the TCPA;

       C.      An injunction requiring Defendant to cease all autodialed telemarketing calls to

               cellphones whose owners/users haven’t provided prior express consent, together

               with a declaration that Defendant used an ATDS in violation of the TCPA;

       D.      An injunction requiring Defendant to cease all repeated telemarketing calls to

               phone numbers listed on the Do Not Call list whose owners/users haven’t

               provided prior express consent;

       E.      An award of actual monetary loss from such violations or the sum of five hundred

               dollars ($500.00) for each violation, whichever is greater all to be paid into a

               common fund for the benefit of the Plaintiff and the Class Members;

       F.      An award of treble damages if willful or knowing violations are shown;

       G.      An award of reasonable attorneys’ fees and costs to be paid out of the common

               fund prayed for above; and

       H.      Such other and further relief that the Court deems reasonable and just.

                                         JURY DEMAND
       Plaintiff requests a trial by jury of all claims that can be so tried.

 Dated: March 5, 2019                          Jason Galloway, individually and on behalf of all
                                               others similarly situated,

                                               By: /s/ Joel S. Halvorsen
                                               One of Plaintiff’s Attorneys

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                                                                                                  13
Case 3:19-cv-00264-JPG-RJD Document 1 Filed 03/05/19 Page 14 of 14 Page ID #14



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                                    *Admission to be sought




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